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                         IN THE UNITED STATES DISTRICT COURT                                   E
                         FOR THE EASTERN DISTRICT OF VIRGINIA                                        MAY 1 3 2021
                                             Richmond Division

                                                                                                      RICHMOND, VA
SENATOR AMANDA F.             CHASE,

        Plaintiff,

V .                                                            Civil     Action          No.   3:21-cv-54


SENATE OF VIRGINIA,                et al.,

        Defendants.


                                            MEMORANDUM OPINION


        This        matter    is    before         the     Court   on      DEFENDANTS'              MOTION       TO


DISMISS        (''Motion to Dismiss")                  (EOF No.    12) .       For the         reasons       set

forth below,           the motion will be granted.

                                              I.     BACKGROUND


A.      Legal Standard

        The     Defendants'             Motion       to    Dismiss      is    brought          pursuant          to

Fed.      R.          Civ.         P.         12(b) (1)        ("lack          of         subject-matter

jurisdiction").                A        12(b) (1)         motion   can        be        characterized            as

either a        "facial" or a                "factual" challenge to a                    court's subject

matter jurisdiction.                        Kerns v.      United States,            585    F.3d 187,         192

(4th Cir.           2009) .    A facial            challenge argues                that    the      complaint

fails     to    allege        facts          sufficient       to   support          a    finding          that    a

court    has        subject matter             jurisdiction.            Id.        Thus,       if    the    Rule

12(b)(1)        motion        is        a    facial       challenge,          "'the       plaintiff,             in

effect,        is    afforded       the       same     procedural       protection             as    he    would
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